           Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 1 of 13



SRM    1
       2
       3
       4
       5
       6                           UNITED STATES DISTRICT COURT
                                       DISTRICT OF ARIZONA
       7
                                                                     CR-94-0243-PCT-RCB
       8            United States of America,                       CV-05-1580-PCT-RCB (JI)
                      Plaintiff/Respondent
       9                       -vs-                           REPORT & RECOMMENDATION
                        Larry Sayetsitty,                      On Motion to Vacate, Set Aside, or
      10               Defendant/Movant                         Correct Sentence Pursuant to
                                                                       28 U.S.C. § 2255
      11
      12                           I. MATTER UNDER CONSIDERATION

      13          Movant, following his conviction in the United States District Court for the District of

      14   Arizona, filed a Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255

      15   on May 26, 2005 (#366). On July 22, 2005 Respondent filed its Response (#369). Movant

      16   filed a Reply on August 17, 2005 (#373).

      17          The Movant's Motion is now ripe for consideration. Accordingly, the undersigned

      18   makes the following proposed findings of fact, report, and recommendation pursuant to Rule

      19   10, Rules Governing Section 2255 Cases , Rule 72(b), Federal Rules of Civil Procedure, 28

      20   U.S.C. § 636(b) and Rule 72.2(a)(2), Local Rules of Civil Procedure.

      21
      22              II. RELEVANT FACTUAL & PROCEDURAL BACKGROUND

      23          Because this matter may be resolved on the basis of a statute of limitations, the review
           of the factual and procedural background will generally be limited to those matters relevant to
      24
           a timeliness determination.
      25
      26
           A. FACTUAL BACKGROUND
      27
                  In disposing of Movant’s direct appeal, the Ninth Circuit summarized the facts as
      28
                                                        -1-
      Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 2 of 13



 1   follows:
 2                           Larry and Joe Sayetsitty are brothers and members of the Navajo
                     Nation. They spent the night of June 24, 1996, drinking and socializing
 3                   in various locations. At approximately 4 a.m. on June 25, they drove in
                     Larry's truck to a party at Diversion Dam, a site within the Navajo Indian
 4                   reservation near Kayenta, Arizona. While at Diversion Dam, Larry
                     became involved in an argument with the decedent, Jerry Lee Stanley.
 5                   Joe joined the argument, and a brief fight ensued before it was broken up
                     by others.
 6                                  ***
                             At approximately 5:20 a.m., Stanley stopped at the residence of
 7                   a friend, Kent Parrish, who lived on the reservation. Larry pulled up
                     behind Stanley's truck and told Joe, "the guy parked in front of us, when
 8                   he comes by here, throw him down." As instructed, Joe grabbed Stanley
                     by the shoulders as he came by and threw him to the ground. Both Larry
 9                   and Joe then kicked Stanley. One witness saw Joe kick Stanley in the
                     head, and another saw Larry kick him in the head eight to ten times, with
10                   the motion and strength one might use in kicking a football field goal.
                     Finally, Stanley's friend came outside and broke up the encounter. Joe
11                   and Larry then left the Parrish residence in Larry's truck and drove to
                     Larry's residence. Stanley's friend drove Stanley to the hospital, where
12                   he was pronounced dead. He was later determined to have died of head
                     injuries.
13
     U.S. v. Sayetsitty, 107 F.3d 1405, 1407-1408 (9th Cir. 1997).
14
     B. PROCEEDINGS AT TRIAL
15
             Movant and his brother were indicted for the premeditated murder of Jerry Lee Stanley
16
     (#16). The court granted their motion to sever (#81). Movant was then tried and convicted of
17
     second-degree murder (#233). On October 25, 1995, Movant was sentenced to 225 months
18
     in prison followed by 48 months of supervised release (#271).
19
20
     C. PROCEEDINGS ON DIRECT APPEAL
21
             Movant and his brother both appealed (#275 & 281). Movant’s appeal was denied on
22
     the merits on February 28, 1997 and the mandate issued April 25, 1997 (#291).1 See U.S. v.
23
     Sayetsitty, 107 F.3d 1405 (9th Cir. 1997).
24
     //
25
     //
26
27
             1
                 Co-Defendant Joe Sayetsitty’s appeal was granted, and he was subsequently retried and convicted of
28   involuntary manslaughter (#324).
                                                         -2-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 3 of 13



 1   D. PROCEEDINGS ON POST-CONVICTION RELIEF
 2          Requests for Documents - Movant wrote a letter dated September 23, 1999 to the
 3   district court judge, Hon. Broomfield, requesting that Movant be provided with a full docket
 4   sheet, judgment and commitment order, transcripts, and copies of motions. The Court treated
 5   this letter as a motion to produce documents, and denied the motion by an Order filed October

 6   13, 1999 (#351). That order noted that “inasmuch as the court has an extra copy of its docket

 7   it will direct the clerk to send it and a copy of the judgment and commitment to defendant.”

 8   The Court’s docket reflects that this was completed by the Clerk of the Court.

 9          On October 18, 1999, Movant responded with a letter (#352) indicating that he had

10   “received my docket sheet and judgment and commitment order,” and again requesting

11   transcripts. The Court construed this letter as a motion to produce, and again denied it. (Order

12   11/8/99, #353).

13          Movant filed a Notice of Appeal (#354) challenging those denials. That appeal was

14   dismissed for lack of jurisdiction on May 18, 2000 (#356).

15          Delayed Appeal - On November 3, 2003, Movant filed a Motion to Extend Time to File

16   Late Appeal (#357), arguing that counsel had failed to file an opening brief, that as a result

17   Movant had been denied his right to appeal, and thus requesting leave to file a late appeal.

18   Movant sent a letter to the Clerk of the Court, filed March 31, 2004 (#360), stating that:

19                 ... counsel claimed on several occasions that yes he had filed the appeal.
                   However, it was almost three years later that I learned in fact that the
20                 appeal has been dismissed for failure to file a timely brief.

21   On April 14, 2004, Movant then filed a third request for delayed appeal, a Motion for

22   Extension of Time for Excusable Neglect (#361). Movant again reiterated his concerns about

23   counsel’s failure to pursue his appeal:

24                 Defendant wrote to the attorney to find out what has happened to his
                   case. No response. After several letters, and NO RESPONSE, on April
25                 26, 2000 defendant discovered his appeal was dismissed?

26   On May 3, 2004, Movant filed a fourth request, a Motion for Case Discovery (#352), citing

27   to the Ninth Circuit’s opinion on his appeal, and asking for copies of his case records.

28          On May 7, 2004, the Government filed a single Response (#363) to all of these
                                                   -3-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 4 of 13



 1   requests, arguing that defense counsel had indeed filed a brief in the appeal, and that the appeal
 2   had been denied on the merits, not dismissed.
 3          The Court denied Movant’s motion to file a delayed appeal, and denied the related
 4   motions as moot. (Order 5/26/04, #364.)
 5
 6   E. PRESENT FEDERAL HABEAS PROCEEDINGS

 7          Movant instituted the present habeas proceeding by filing his Motion to Vacate, Set

 8   Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 on May 26, 2005 (#366). Movant’s

 9   motion asserts six grounds for relief: (1) newly discovered alibi evidence; (2) evidence of

10   actual innocence in form of medical testimony that Movant was physically incapable of

11   kicking; (3) sentencing errors; (4) ineffective assistance of counsel in arguing sufficiency of

12   the evidence; (5) prosecutorial misconduct in presentation of perjured testimony; (6)

13   violations of Blakey, Booker, and Fantan.

14          In addition, Movant argues that his motion is timely because he did not discover his

15   appeal had been denied until May 24, 2004 (#366 at 7). Movant further argues that he is

16   entitled to equitable tolling because: (1) his efforts to be provided discovery in the case were

17   denied; (2) he has contracted an illness (id. at 11). Movant further argues that he has newly

18   discovered evidence, which justifies a delayed motion to vacate (id. at 14). Movant also

19   argues that he is, in any event, actually innocent (id. at 9).

20          Respondents filed their Response (#369), arguing that the Motion is: (1) untimely; (2)

21   procedurally defaulted; (3) without merit; and (4) and subject to a non-retroactivity analysis.

22          Movant filed a Reply (#373) on August 17, 2005. In addition to repeating arguments

23   from his Motion, Movant’s Reply asserts that he is mentally incompetent, and obligated to

24   know tribal laws.

25
26                           III. APPLICATION OF LAW TO FACTS

27          Respondent argues that the Motion must be dismissed as untimely.

28          Applicable Statute of Limitations - The statute governing motions to vacate provides:
                                                    -4-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 5 of 13



 1                  A 1-year period of limitation shall apply to a motion under this section.
                    The limitation period shall run from the latest of--
 2                         (1) the date on which the judgment of conviction becomes final;
                           (2) the date on which the impediment to making a motion created
 3                  by governmental action in violation of the Constitution or laws of the
                    United States is removed, if the movant was prevented from making a
 4                  motion by such governmental action;
                           (3) the date on which the right asserted was initially recognized
 5                  by the Supreme Court, if that right has been newly recognized by the
                    Supreme Court and made retroactively applicable to cases on collateral
 6                  review; or
                           (4) the date on which the facts supporting the claim or claims
 7                  presented could have been discovered through the exercise of due
                    diligence.
 8
     28 U.S.C. § 2255.
 9
            Ordinary Application of Statute - The one-year statute of limitations on motions to
10
     vacate generally begins to run on "the date on which the judgment of conviction becomes final."
11
     28 U.S.C. § 2255(1). "Finality attaches when [the Supreme] Court affirms a conviction on the
12
     merits on direct review or denies a petition for a writ of certiorari, or when the time for filing
13
     a certiorari petition expires." Clay v. United States,537 U.S. 522 (2003). "We hold that, for
14
     federal criminal defendants who do not file a petition for certiorari with this Court on direct
15
     review, §2255’s one-year limitation period starts to run when the time for seeking such review
16
     expires." Id. at 532.
17
             Movant did not seek certiorari, but had 90 days after entry of the judgment of the Court
18
     of Appeals to file a petition for writ of certiorari with the U.S. Supreme Court. Rule 13, Rules
19
     of the Supreme Court of the United States. “The time to file a petition for a writ of certiorari
20
     runs from the date of entry of the judgment or order sought to be reviewed, and not from the
21
     issuance date of the mandate.” Id. Accordingly, for purposes of the statute of limitations in
22
     28 U.S.C. §2255, the movant’s judgment of conviction became final 90 days after the Ninth
23
     Circuit's decision on February 27, 1997, i.e. on May 29, 1997. The statute of limitations
24
     commenced running on that date, and expired one year later, on May 29, 1998.
25
            Filing Date - Movant's motion was filed May 26, 2005. However, under the “prison
26
     mailbox rule,” for purposes of calculating statutes of limitations in federal habeas proceedings,
27
     a prisoner’s filings are deemed “filed” when they are delivered to prison officials for mailing.
28
                                                    -5-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 6 of 13



 1   See Anthony v. Cambra, 236 F.3d 568 (9th Cir. 2000). Here, Movant’s certificate of service
 2   reflects that his documents were deposited in the prison mailbox on May 17, 2004. However,
 3   this must be a typographical error, because Movant’s attached Application to Proceed In
 4   Forma Pauperis is dated and certified as of May 17, 2005. Therefore, the undersigned
 5   presumes for purposes of this Report and Recommendation that Movant’s motion was mailed

 6   on May 17, 2005, and therefore treats it as having been filed on that date. Even so, Movant’s

 7   motion would still be almost seven years delinquent.

 8          Effect of Delay in Notice on Appeal - Movant argues that his motion should

 9   nonetheless be considered timely because his appellate attorney was non-communicative and

10   the Court would not grant him discovery, and thus he did not receive notice of the dismissal

11   of his appeal, which he characterizes as a denial of due process and a violation of court rules.

12   If the lack of notice is construed as an "impediment to making a motion created by

13   governmental action in violation of the Constitution or laws of the United States," then

14   Movant's one year would not commence until that impediment was removed. 28 U.S.C. §

15   2255(2). Here, that impediment would have been removed at least by October 18, 1999, when

16   Movant responded with a letter (#352) indicating that he had “received my docket sheet.” That

17   docket sheet reflected the filing of the mandate from the Ninth Circuit Court of Appeals on

18   April 25, 1997 (#291), which affirmed Movant's convictions. If this later date, October 18,

19   1999, is used, Movant's one year would have expired on October 18, 2000, and his Motion

20   would still be over four years delinquent.

21          Movant argues that he is entitled to equitable tolling as a result of the delay of notice

22   of the denial of his appeal. In U.S. v. Battles, 362 F.3d 1195 (9th Cir. 2004), the Ninth Circuit

23   held the statute of limitations under 28 U.S.C. § 2255 may be equitably tolled. Movant bears

24   the burden of showing that equitable tolling is appropriate. Miranda v. Castro, 292 F.3d 1063,

25   1065 (9th Cir.2002).     To be entitled to such tolling, Movant must "demonstrate that

26   ‘extraordinary circumstances beyond [his] control [made] it impossible to file a petition on

27   time and the extraordinary circumstances were the cause of his untimeliness.'" Battles, 362

28   F.3d at 1197 (quoting Laws v. LaMarque, 351 F.3d 919, 922 (9th Cir. 2003)). A number of
                                                   -6-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 7 of 13



 1   courts have held that equitable tolling is appropriate to preserve the claims of a petitioner, who
 2   through no fault of his own, fails to receive notice of the disposition of an appeal or
 3   post-conviction proceeding, and consequently delays his federal habeas filing. See, e.g.,
 4   Brandon v. U.S., 89 F.Supp.2d 731 (E.D.Va. 2000), Plowden v. Romine, 78 F.Supp.2d 115
 5   (E.D.N.Y. 1999); Vasquez v. Greiner, 68 F. Supp.2d 307 (S.D.N.Y. 1999); and Baskin v.

 6   United States, 998 F.Supp. 188 (D.Conn. 1998).

 7          Movant argues that he received the order denying his appeal for the first time on May

 8   24, 2004. (Reply, #373 at 1.) Here, given the extreme lapse of time, and Movant's receipt of

 9   the court's docket showing the denial of his appeal, it is implausible that his failure to receive

10   an actual copy of the denial of his appeal was an "extraordinary circumstance" or that it made

11   it impossible for Movant to file until May 24, 2004. Movant offers no explanation for why he

12   did not seek a copy of the appellate court’s decision.

13          Assuming arguendo that Movant's lack of notice was an extraordinary circumstance

14   preventing him from filing for a time, equitable tolling will not apply if Movant did not

15   continue to diligently pursue filing afterwards. “If the person seeking equitable tolling has not

16   exercised reasonable diligence in attempting to file after the extraordinary circumstances

17   began, the link of causation between the extraordinary circumstances and the failure to file is

18   broken, and the extraordinary circumstances therefore did not prevent timely filing.” Valverde

19   v. Stinson, 224 F.3d 129, 134 (2nd Cir. 2000). Ordinarily, thirty days after elimination of a

20   roadblock should be sufficient. See Guillory v. Roe, 329 F.3d 1015, 1018, n.1 (9th Cir.

21   2003). Here, Movant waited almost an entire year before filing. That delay precludes a finding

22   of reasonable diligence, and thus a finding of equitable tolling.

23          Effect of Physical Illness - In his Motion, Movant asserts that he has contracted a virus

24   in the prison, resulting in various symptoms. (Motion, # 366 at 11.) However, Movant does

25   not assert how these symptoms commenced, when they terminated, or how they kept him from

26   filing a timely motion. Movant fails to make out a claim for equitable tolling on this issue.

27          Effect of Mental Incompetency - Movant asserts that he is entitled to equitable tolling

28   because his "[mental] incompetency is 'OBVIOUS'." (Reply, #373 at 7.) However, Movant
                                                    -7-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 8 of 13



 1   offers nothing to support his claim of incompetency other than making generic argument such
 2   as "American Indians are known to have 'this diminished capacity from drinking.'" (Id. at 8.)
 3   However, Movant concedes "[n]ot all indians but enough to NOTICE."
 4          A habeas petitioner's mental incompetence is not a per se reason to toll the statute of
 5   limitations for filing a federal habeas petition. Instead, the alleged mental incompetence must

 6   somehow have affected the petitioner's ability to timely file a habeas petition. Nara v. Frank,

 7   264 F.3d 310, 320 (3rd Cir.2001). Therefore, a habeas petitioner must allege more than the

 8   “mere existence of physical or mental ailments” to invoke the equitable tolling of the statute

 9   of limitations. Rhodes v. Senkowski, 82 F.Supp.2d 160, 173 (S.D.N.Y.2000). Instead, a habeas

10   petitioner has the burden of showing that mental health problems rendered him or her unable

11   to file a habeas petition during the one year limitations period. Id. A statute of limitations is

12   tolled by reason of mental illness “only if the illness in fact prevents the sufferer from

13   managing his affairs and thus from understanding his legal rights and acting upon them.” Miller

14   v. Runyon, 77 F.3d 189, 191 (7th Cir.1996)(internal citations omitted).

15          Movant has shown himself, through his filings in this Court, that he is sufficiently

16   competent to understand the proceedings, and to marshal arguments and authorities in support

17   of his cause, leading the undersigned to conclude that Movant suffers no mental defect that

18   prevented him from making a timely filing.

19          Moreover, Movant proffers nothing to show that he himself is incompetent, or that such

20   diminished capacity precluded him from making a timely filing. Movant does not draw a causal

21   connection between any incompetence and the extreme delay evident in this case. Mere

22   conclusory statements in a § 2255 motion are insufficient to require a hearing. United States

23   v. Hearst, 638 F.2d 1190, 1194 (9th Cir.1980), cert. denied, 451 U.S. 938 (1981).

24          Effect of Newly Recognized Rights - Movant asserts claims arising under the recent

25   line of cases beginning with Apprendi v. New Jersey, 530 U.S. 466 (2000), proceeding

26   through Blakely v. Washington, 542 U.S. 296 (2004), and culminating with United States v.

27   Booker, 543 U.S. 220 (2005). Booker was not decided until January 12, 2005. Arguably,

28   Movant should be entitled to rely on 28 U.S.C. § 2255(3) to count his one year "from the date
                                                   -8-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 9 of 13



 1   on which the right asserted was initially recognized by the Supreme Court." However, this
 2   delayed start is available only "if that right has been newly recognized by the Supreme Court
 3   and made retroactively applicable to cases on collateral review." 28 U.S.C. § 2255(3). Here,
 4   the Supreme Court has not made the decisions in the Apprendi, Blakely, Booker line of cases
 5   retroactively applicable on collateral review. To date, the Ninth Circuit has held that none of

 6   them are retroactive. See Reynolds v. Cambra, 290 F.3d 1029, 1030 (9th Cir.2002) (holding

 7   that Apprendi does not apply retroactively); Schardt v. Payne, 414 F.3d 1025 (9th Cir.2005)

 8   (Blakely); United States v. Cruz, 423 F.3d 1119, 1120-21 (9th Cir.2005) (Booker).

 9   Consequently, Movant is not entitled to rely upon § 2255(3) to delay the commencement of

10   his one year limitations period.

11          Applicability of Tribal Laws - Movant argues that his situation is extraordinary

12   because, as an American Indian, he is subject to tribal laws, making it all the harder for him to

13   know applicable federal law. (Reply, #373 at 9.) At the outset, it must be noted that a

14   prisoner’s pro se status is not an extraordinary circumstance. Felder v. Johnson, 204 F.3d

15   168 (5th Cir. 2000). And, "ignorance of the law, even for an incarcerated pro se petitioner,

16   generally does not excuse prompt filing." Fisher v. Johnson, 174 F.3d 710, 714 (5th

17   Cir.1999). But see Gaston v. Palmer, 417 F.3d 1030, 1035 (9th Cir. 2005)(considering

18   whether lack of "access to legal materials or the prison law library" precluded timely filing).

19   Movant asserts nothing extraordinary about his experience as a Native American that would

20   have precluded him from timely filing. Presumably, Movant would have been subject to tribal

21   laws on various issues. However, defendants living outside a reservation are similarly held to

22   know applicable municipal and county laws, in addition to the more widely applicable state and

23   federal laws. There is nothing extraordinary about Movant’s subjection to tribal laws.

24          Reliance on Castro Opinion - Movant argues that he is entitled to protection under

25   the Supreme Court's decision in Castro v. U.S., 540 U.S. 375 (2003). (Reply, #373 at 9-10.)

26   However, Castro did not deal with the timeliness of a habeas petition, but whether a district

27   court could sua sponte construe a federal defendant's post-trial motion for new trial as a

28   motion to vacate, and then later bar a subsequent § 2255 motion as a second or successive
                                                   -9-
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 10 of 13



 1   motion.
 2           Effect of Newly Discovered Evidence - Movant also asserts claims that he has newly
 3   discovered evidence. Section 2255(4) provides that the statute runs from "the date on which
 4   the facts supporting the claim or claims presented could have been discovered through the
 5   exercise of due diligence." In Ground 2, Movant argues that he has newly discovered alibi

 6   evidence that the person who eyewitnesses observed Movant kicking was not the victim.

 7           However, it is the "facts" which must be newly discovered, not the evidence to prove the

 8   facts. For example, in Matus-Leyva v. U.S., 287 F.3d 758 (9th Cir. 2002), the Ninth Circuit

 9   noted that the timeliness of a § 2255 motion asserting that the movant was a juvenile at the

10   time of his conviction was not extended until movant located his birth certificate. The court

11   noted that the movant "knew of the claim and litigated the issue at the time of his original

12   conviction." Id. at 761, n.3. Accordingly, the Court noted the invalidity of the Movant's

13   argument that "the statute did not begin to run until he located his birth certificate." Id.

14           While the evidence obtained by Movant since trial, in the nature of affidavits, may have

15   been new to Movant at the time this Motion was filed, the "facts" were not. In his Reply Movant

16   acknowledges that he "raised and told his attorney, twice, at trial" about his alibi evidence.

17   (Reply, #373 at 11.) Thus these “facts” were available to Movant since trial. Further, the

18   affidavits themselves are all dated in June and July, 2004. Movant offers no explanation for

19   the ten month delay between obtaining those affidavits and finally filing his motion.

20           Movant also argues his receipt of evidence of actual innocence in form of medical

21   testimony that Movant was physically incapable of kicking. (Reply, #373 at 14-15 However,

22   the records on which Movant bases this argument, showing the installation of a rod in his right

23   femur, date back as early as January 5, 1998, and at the latest April 4, 2003. Moreover, Movant

24   would have known at the time of the crimes what his physical capabilities and medical history

25   were.

26           Actual Innocence - Movant argues that any untimeliness should be ignored because he

27   is actually innocent. (Motion, #366 at 9.) In Majoy v. Roe, while declining to decide the

28   issue, the Ninth Circuit noted that the statute of limitations for state habeas petitioners in 28
                                                   - 10 -
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 11 of 13



 1   U.S.C. § 2244 may be subject to avoidance upon a showing of actual innocence. 296 F.3d
 2   770, 776-777 (9th Cir. 2002). To establish such actual innocence, Movant would be required
 3   to meet the standard for actual innocence applied in cases of procedural default. See Lucidore
 4   v. New York State Div. of Parole, 209 F.3d 107, 114 (2nd Cir. 2000); U.S. v. Montano, 398
 5   F.3d 1276, 1285 (11th Cir. 2005). That standard was articulated in Kuhlmann v. Wilson, 477

 6   U.S. 436 (1986) as follows:

 7                 [T]he prisoner must “show a fair probability that, in light of all the
                   evidence, including that alleged to have been illegally admitted (but with
 8                 due regard to any unreliability of it) and evidence tenably claimed to have
                   been wrongly excluded or to have become available only after the trial,
 9                 the trier of the facts would have entertained a reasonable doubt of his
                   guilt.”
10
     Id., 477 U.S., at 455, n. 17, quoting Friendly, Is Innocence Irrelevant? Collateral Attack on
11
     Criminal Judgments, 38 U.Chi.L.Rev. 142, 160 (1970).
12
            A habeas petitioner asserting his actual innocence of the underlying crime must show
13
     "it is more likely than not that no reasonable juror would have convicted him in light of the new
14
     evidence" presented in his habeas petition. Schlup v. Delo, 513 U.S. 298, 327 (1995). A
15
     showing that a reasonable doubt exists in the light of the new evidence is not sufficient.
16
     Rather, the petitioner must show that no reasonable juror would have found the defendant
17
     guilty. Id. at 329. Moreover, a finding of "actual innocence" is not to be based upon a finding
18
     that insufficient evidence to support the charge was presented at trial, but rather upon
19
     affirmative evidence of innocence. See U.S. v. Ratigan, 351 F.3d 957 (9th Cir. 2003) (lack
20
     of proof of FDIC insurance in a bank robbery case, without evidence that insurance did not
21
     exist, not sufficient to establish actual innocence).
22
            Here, Movant offers scant evidence of his actual innocence, including: (1) the
23
     declaration of his sister, Anna Lewis, that at the scene of the crime Movant fought with Harry
24
     Stanley Jr., and not Jerry Stanley, the victim; (2) the declaration of Larleen Sayetsitty,
25
     Movant’s daughter, that Harry Stanley Jr. had been arrested; (3) the declaration of Joanne
26
     Sayetsitty, Movant’s mother, that the fight was with Harry Jr., and that a third party said the
27
     victim was involved in a fight 100 miles away; (4) the declaration of Darlene Sayetsitty,
28
                                                   - 11 -
     Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 12 of 13



 1   Movant’s wife, that the fight was with Harry Jr., and that an un-identified witness said he was
 2   threatened by an agent to lie. Movant submits two unsigned declarations by Gordon Tellis and
 3   Mrs. Tellis, and his own unsigned Declaration. In addition, Movant submits medical records
 4   that he had a rod in his right femur, and his speculation that medical testimony would say his
 5   leg would have shattered. (Reply, #373 at 19-20.)

 6          Movant also makes ado about the lack of blood at the scene, on his clothes, in the

 7   vehicle used to transport the victim, etc. (Reply, #373 at 29.) However, the medical examiner,

 8   Dr. Vorpahl, reported that the victim died from a brain hemorrhage, which he defined as an

 9   internal injury. (R.T. 6/28/95, #247 at 171-172.) The only appreciable external injury, other

10   than bruising and abrasions, were small lacerations on the victim’s head (Id. at 182-184, 223).

11   Movant offers no evidence to support his claim that the victim’s heart had pumped all of his

12   blood out, or that blood splatters should have been present.

13          In contrast, the Government submitted, inter alia, testimony by four eyewitnesses,

14   including: (1) Etta Parrish’s testimony that she observed Movant kicking the victim repeatedly

15   (R.T. 6/27/95, #246 at 57-60); (2) Kent Parrish’s testimony that he observed Movant kicking

16   the victim repeatedly like one would kick a football, and that he (Kent Parish) drove the victim

17   to the hospital (id. at 132-137); (3) Edgar Parrish’s testimony that he saw Movant driving away

18   from the scene (id. at 235); and (4) the testimony of Joe Sayetsitty, Movant’s brother and co-

19   defendant, that he and Movant followed the victim to the Parrish house where Movant

20   instructed him to throw the victim down, and Movant then kicked the victim (R.T. 6/28/95,

21   #247 at 39-41.) This is substantial evidence, and reasonable jurors could easily grant it

22   credibility over the disjointed stories by Movant’s family members.

23          Movant has not established that if his additional evidence would have been presented

24   no reasonable juror could have found Defendant guilty. Thus, assuming actual innocence

25   would avoid the effect of the statute of limitations, Movant has failed to establish his actual

26   innocence.

27          Summary - Based upon the foregoing, the undersigned finds that Movant’s motion is

28   untimely under 28 U.S.C. § 2255, and must be dismissed.
                                                  - 12 -
      Case 3:94-cr-00243-RCB Document 377 Filed 04/18/06 Page 13 of 13



 1                                                                 IV. RECOMMENDATION
 2                                       IT IS THEREFORE RECOMMENDED that the Movant's Motion to Vacate, Set
 3   Aside or Correct Sentence pursuant to 28 U.S.C. § 2255, filed May 26, 2005 (#366) be
 4   DISMISSED WITH PREJUDICE.
 5
 6                                                             V. EFFECT OF RECOMMENDATION

 7                                       This recommendation is not an order that is immediately appealable to the Ninth Circuit

 8   Court of Appeals. Any notice of appeal pursuant to Rule 4(a)(1), Federal Rules of Appellate

 9   Procedure, should not be filed until entry of the district court's judgment.

10                                       However, pursuant to Rule 72(b), Federal Rules of Civil Procedure, the parties shall

11   have ten (10) days from the date of service of a copy of this recommendation within which to

12   file specific written objections with the Court. See also Rule 10, Rules Governing Section

13   2255 Proceedings. Thereafter, the parties have ten (10) days within which to file a response

14   to the objections. Failure to timely file objections to any factual or legal determinations of

15   the Magistrate Judge will be considered a waiver of a party's right to de novo consideration of

16   the issues. See United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003)(en banc).

17
18
     DATED: April 17, 2006                                                      _____________________________________
19                                                                                             JAY R. IRWIN
     S:\Drafts\OutBox\94-243-369r RR 04 06 12 re MVacate.wpd                            United States Magistrate Judge
20
21
22
23
24
25
26
27
28
                                                                              - 13 -
